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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

    CAO GROUP, INC.,

                  Plaintiff,                         Case No.: 1:24-cv-01211

           v.                                        Judge Thomas M. Durkin

    ZHUHAI JIASHU DIANZISHANGWU                      Magistrate Judge Jeannice W. Appenteng
    YOUXIANGONGSI
    D/B/A GD-WHITENING,                              JURY TRIAL DEMAND

                  Defendant.


                                   JOINT STATUS REPORT

         Pursuant to the Court’s October 25, 2024 Minute Entry [124], Plaintiff CAO Group, Inc.

(“Plaintiff”) and Defendant No. 6 haiyi_mall and Defendant No. 25 newage-store (“Cheng

Defendants”) 1 (collectively, the “Parties”) submit the following Joint Status Report.

         Now that the Court has ruled on Plaintiff’s Motion for Leave to File a Third Amended

Complaint and Plaintiff has filed its Third Amended Complaint (“TAC”) [125], the Parties propose

the following revised discovery schedule:

      EVENT SCHEDULED                   GOVERNING LOCAL                       DEADLINE
                                          PATENT RULE
Answer or Other Response To          N/A                                 November 11, 2024
TAC
Supplement Initial Disclosures of 14 days (2 weeks) after Answer         November 25, 2024
Both Parties in light of TAC      or other responsive pleading.
                                  (LPR 2.1)
Supplement Initial Infringement 14 days (2 weeks) after Initial          December 9, 2024
Contentions                       Disclosures. (LPR 2.2)
Supplement Initial Non-           14 days (2 weeks) after Initial        December 30, 2024 (3
Infringement, Unenforceability,   Infringement Contentions.              weeks to account for
and Invalidity Contentions        (LPR 2.3)                              holidays)


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    “Cheng” is in reference to He Cheng, counsel for Defendant Nos. 6 and 25.


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    EVENT SCHEDULED                     GOVERNING LOCAL                      DEADLINE
                                           PATENT RULE
Initial Response to Invalidity     14 days (2 weeks) after Initial      January 20, 2025 (3
Contentions                        Non-Infringement and Invalidity      weeks to account for
                                   Contentions.                         holidays)
                                   (LPR 2.5)
Final Infringement,                21 weeks after Initial               May 5, 2025
Unenforceability, and Invalidity   Infringement Contentions.
Contentions                        (LPR 3.1)
Final Non-Infringement,            28 days (4 weeks) after service      June 2, 2025
Enforceability, and Validity       of Final Infringement
Contentions                        Contentions.
                                   (LPR 3.2)
Exchange of Claim Terms            14 days (2 weeks) after Final        June 16, 2025
Needing Construction               Validity Contentions.
                                   (LPR 4.1)
Close of Fact Discovery – Part 1   28 days after the date for           July 14, 2025
                                   exchange of claim terms and
                                   phrases under LPR 4.1.
                                   (LPR 1.3)
Opening Claim Construction         35 days (5 weeks) after              July 21, 2025
Brief (by alleged infringer) and   exchange of claim terms.
Joint Appendix                     (LPR 4.2(a))
Responsive Claim Construction      28 days (4 weeks) after Opening      August 18, 2025
Brief (by party asserting          Claim Construction Brief.
infringement)                      (LPR 4.2(c))
Reply Claim Construction Brief     14 days (2 weeks) after              September 2, 2025
                                   Responsive Claim Construction
                                   Brief.
                                   (LPR 4.2(d))
Joint Claim Construction Chart     7 days (1 week) after Reply          September 9, 2025
                                   Claim Construction Brief.
                                   (LPR 4.2(f))
Claim Construction Hearing         To be determined by the Court        Subject to the Court’s
                                   (within 28 days of filing of reply   availability (on or
                                   claim construction brief).           before October 7,
                                   (LPR 4.3)                            2025)
Claim Construction Ruling (fact    To be determined by the Court.       Subject to the Court’s
discovery may resume)                                                   availability
Discovery Opens Regarding          35 days (5 weeks) before final       35 days (5 weeks)
Opinions of Counsel                close of fact discovery.             before final close of
                                   (LPR 3.6)                            fact discovery
Close of Fact Discovery – Part 2   42 days (6 weeks) after Claim        42 days (6 weeks) after
                                   Const. Ruling.                       Claim Const. Ruling




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    EVENT SCHEDULED                   GOVERNING LOCAL                       DEADLINE
                                          PATENT RULE
Expert Witness Reports of         21 days (3 weeks) after claim      21 days (3 weeks) after
Parties with Burden of Proof      construction ruling or close of    claim construction
                                  discovery.                         ruling or close of
                                  (LPR 5.1(b))                       discovery.
Rebuttal Expert Witness Reports   35 days (5 weeks) after initial    35 days (5 weeks) after
                                  expert witness reports.            initial expert witness
                                  (LPR 5.1(c))                       reports
Completion of Expert Witness      35 days (5 weeks) after rebuttal   35 days (5 weeks) after
Depositions                       expert witness reports.            rebuttal expert witness
                                  (LPR 5.2)                          reports




Date November 4, 2024                             Respectfully submitted,


/s/ Sameeul Haque                                 /s/ He Cheng (with permission)
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